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               IN THE UNITED STATES DISTRICT COURT FOR
                    THE SOUTHERN DISTRICT OF GEORGIA
                            SAVANNAH DIVISION


ELIZABETH ELINKNAN,

       Plaintiff,

V.                                             CASE NO. CV418-108


RP FIELD SERVICE LLC and
NATIONAL CREDITORS CONNECTION,
INC.,

       Defendants.




                                ORDER


      Before the Court is the Plaintiffs' Consent Motion for Final

Approval of Settlement and Dismissal. (Doc. 70.) On January 19,

2021, the Court preliminarily approved the parties' settlement

agreement concerning Plaintiffs' Fair Labor Standards Act (^^FLSA")

claims and    permitted the    parties to distribute notice of the

settlement to Plaintiffs and putative plaintiffs. (Doc. 68 at 2-

3.) Now, after distributing notice to the Plaintiffs, the parties

move the Court for final approval of their settlement. (Doc. 70 at

1.) In addition to final approval of their settlement, the parties

seek authorization to distribute the settlement funds; dismissal

with prejudice of the individuals who chose to participate in the

settlement; dismissal without prejudice of the individuals who

chose not to participate in the settlement; dismissal of Defendant

National    Creditors    Connection,    Inc.    without   prejudice;     and
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dismissal      of    this   action.   (Id.   at   1,   6-7.)   After   careful

consideration, the parties' requests are GRANTED.

      Pursuant to Lynn's Food Stores, Inc. v. United States, 679

F.2d 1350, 1353 (11th Cir. 1982), and 29 U.S.C. § 216(b), the Court

must scrutinize the proposed settlement of FLSA claims for fairness

before entering a stipulated judgment. This Court will approve a

compromised claim only if the settlement ^^is a fair and reasonable

resolution of a bona fide dispute over FLSA provisions." Id.; see

29 U.S.C. § 216(b). The Court finds that the parties' settlement

is a fair and reasonable resolution of the parties' bona fide

dispute.

      On   February 8, 2021, the parties sent the Court-approved

notice to the 392 Plaintiffs and putative plaintiffs. (Doc. 70,

Attach. 2 at SI 5.) The notice informed the Plaintiffs and putative

plaintiffs of their rights in the settlement and the deadline for

returning a Release of Claims form, objecting to, or requesting to

be excluded from the settlement. (Id.) According to the parties,

211 Plaintiffs chose to participate in the settlement by timely

returning a Release of Claims form.^ (Doc. 70 at 1; Doc. 70, Attach.

2 at SI 11.) At the time the parties filed this motion, there were

no objections or requests for exclusions filed. (Doc. 70, Attach.

2 at SISI 12-15); see Columbus Drywall & Insulation, Inc. v. Masco



^   Thirteen    of    the   notices   were   returned    to    the   settlement
administrator as undeliverable. (Doc. 70, Attach. 2 at SI 6.)
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Corp., No. l:04-cv-3066-JEC, 2012 WL 12906499, at *3-4 (N.D. Ga.

Oct. 26, 2012) (concluding the fact that not one objection was

lodged after a campaign of direct mail notice of settlement ^Veighs

heavily in favor of settlement approval").

       Under the terms of the settlement agreement, $475,000.00 will

be made available in a settlement fund to Plaintiffs that chose to

participate in the settlement by timely returning their Release of

Claims form. (Doc. 60, Attach. 4 at 3; Doc. 70 at 2.) The parties

have agreed that one-third of the settlement fund will be used to

pay    Plaintiffs'     counsels'    attorneys'   fees   and   the   costs   of

litigation. (Doc. 60, Attach. 4 at 3.) The settlement agreement

also provides that $14,000.00 of the settlement fund shall be

allocated to Plaintiff Elizabeth Elinknan as a service payment and

for her FLSA retaliation claim. (Id.)

       Because the parties' settlement is a fair and reasonable

resolution of the parties' bona fide dispute, the parties' motion

(Doc. 70) is GRANTED and their settlement agreement (Doc. 60,

Attach. 4; Doc. 66, Attach. 4) is APPROVED. Accordingly, the 211

Plaintiffs that chose to participate in the settlement (Doc. 70,

Attach. 3) are DISMISSED WITH PREJUDICE and the 181 individuals

that chose not to return their Release of Claims form (Doc. 70,

Attach.     4)   are    DISMISSED    WITHOUT     PREJUDICE.   Additionally,

Defendant National Creditors Connection, Inc. is DISMISSED WITHOUT
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PREJUDICE.2 The parties are authorized to distribute the settlement

funds per the terms of the approve settlement agreement within ten

(10) days of this Order. The Clerk of Court is DIRECTED to close

this case.


      SO ORDERED this ^           day of August 2021.




                                      WILLIAM T. MOORE,^JR.
                                      UNITED STATES DISTRICT COURT
                                      SOUTHERN   DISTRICT OF GEORGIA




2   Because   the   Court   has   dismissed   Defendant   National   Creditors
Connection in this order, the parties' stipulation of dismissal
(Doc. 69) is DISMISSED AS MOOT.
